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                                   BEFORE THE US DISTRICT
                              COURT OF THE DISTRICT OF COLUMBIA




CARNECIA ROBINSON, et al.


         Plaintiffs,                                           Civil No.: 1:20 – CV - 01364
v.
                                                               Next Hearing Date: n/a
BOARD OF ELECTIONS


         Defendants.


                          JOINT MOTION TO DISMISS WITH PREJUDICE


            The respectfully parties file this joint motion to dismiss with prejudice. Each party is

     responsible for its attorneys’ fees.

                                                    Respectfully submitted,


                                                    s/Aristotle Theresa, Esq
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        Case 1:20-cv-01364-DLF Document 26 Filed 06/30/20 Page 2 of 2




                                  Certificate of Service

       I, Aristotle Theresa, hereby certify a true and correct copy of the foregoing JOINT
MOTION TO DISMISS WITH PREJUDICE, was electronically served via ECF to the following
parties, this, the 30th day of June 2020.

Rudy Mcgann
Senior Counsel BoE


Terri Stroud
General Counsel BoE




s/Aristotle Charles Theresa,
Esq
Aristotle Charles Theresa
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Counsel for Carnecia Robinson and Florence Barber and others similarly situated
